                                                     U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                     86 Chambers Street
                                                     New York, New York 10007


                                                     August 3, 2018

By ECF and Electronic Mail

Honorable Analisa Torres
United States District Judge
United States Courthouse
500 Pearl Street
New York, NY 10007

       Re:     The New York Times Company and Charlie Savage v. Department of Justice,
               18 Civ. 2054 (AT)

Dear Judge Torres:

        This Office represents defendant Department of Justice (“DOJ”) in the above-referenced
matter, which was brought pursuant to the Freedom of Information Act, 5 U.S.C. § 552
(“FOIA”). In accordance with the Court’s April 10, 2018, scheduling order, see Dkt. No. 11, we
write respectfully on behalf of all parties to provide a status report.

        On July 20, 2018, DOJ completed processing and production of all non-exempt records
responsive to the FOIA request at issue here, which sought production of “documents submitted
by DOJ to the [Foreign Intelligence Surveillance Court (“FISC”)], and orders or other documents
issued by the FISC, in connection with the [Foreign Intelligence Surveillance Act] order
targeting Carter Page issued in October 2016, as well as its extensions, the existence of which
and certain details of which were declassified by President Trump in connection to the [House
Permanent Select Committee on Intelligence] memo [of February 2, 2018].” Specifically, 589
pages were reviewed and 412 pages were released in whole or in part. This same set of records
was released to plaintiffs in five other FOIA lawsuits pending in various United States District
Courts, including one other action in this District; one in the United States District Court for the
Eastern District of New York; two in the United States District Court for the District of
Columbia; and one in the United States District Court for the Northern District of California.

        The parties have met and conferred regarding the appropriate next steps, and have
reached an agreement pursuant to which Plaintiffs intend to discontinue this action without need
for further litigation. The parties are finalizing the precise language of this agreement, and
expect to submit the necessary documentation to the Court no later than August 10, 2018.
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      We thank the Court for its consideration of this matter.

                                                   Respectfully submitted,

                                                   GEOFFREY S. BERMAN
                                                   United States Attorney for the
                                                   Southern District of New York

                                                By: /s/ Andrew E. Krause
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cc:   All counsel of record via ECF
